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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION


DAMON A. WHITE,

        Plaintiff,
                                                      CIVIL ACTION NO.
v.                                                     5:18‐cv‐00072‐TES

ISAAC HALL, et al.,

        Defendants.

                                         ORDER

       Before the Court is Defendants Isaac Hall (“Hall”) and Oakley Trucking’s

 (“Oakley”) Motion to Exclude the Opinion Testimony of Sarah Lustig and Certain

 Opinion Testimony of Oliver Wood [Doc. 61].

                                     BACKGROUND

       Plaintiff Damon White (“White”) drives a truck for Wal‐Mart. [White Depo., Doc.

 61‐2, p. 44:8–10]. In February 2017, White was not driving his Wal‐Mart truck, but was

 instead driving his 2016 Chevrolet Corvette on Interstate 75 South. [Doc. 1‐1, ¶¶ 6–7].

 Hall was driving a tractor trailer when debris from Hall’s truck struck the

 undercarriage of White’s car causing an accident. [Doc. 1‐1, ¶¶ 6–7]. White suffered a

 shoulder injury that required arthroscopic surgery in December 2017. [Doc. 61‐1, p. 1];

 [Doc. 66, p. 1]. In March 2018, following the surgery, White returned to work at Wal‐
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Mart. [Id. at p. 2]. White then initiated this personal injury action against Hall and

Oakley. [Doc. 45].

       White seeks to admit the testimony of Sarah Lustig, B.S.N., R.N., C.L.C.P.,

(“Lustig”) as evidence of the future care needs and associated costs of White’s shoulder

injury. [Lustig Depo., Doc. 61‐4, p. 31:6–10]; [Doc. 61‐1, p. 2]. Lustig created a “life care

plan” [Doc. 61‐5] for White that itemizes various costs by category for both a “good”

outcome, referred to as “Scenario 1,”or a “bad” outcome, referred to as “Scenario 2.” To

illustrate, the life care plan lists “Physical Therapy Evaluation Outpatient” as one

category of future medical cost, and lists and totals each specific cost White will incur in

this category. [Id. at p. 1]. Under Scenario 1, White would face this cost once or twice

post‐op. [Id.]. Under Scenario 2, White would incur this cost once a year for the rest of

his life. [Id.]. There are nine such categories of costs listed in Lustig’s life care plan.

       White also seeks to admit the testimony of Dr. Oliver G. Wood, Jr., to calculate

the present value of the amount of White’s loss using inputs from Lustig’s life care plan,

calculations of future earnings capacity, family services, and 401(k) benefits. [Wood

Depo., Doc. 61‐6, p. 21:11–17, p. 44:8–12].

       Defendants Hall and Oakley argue that the testimony of Lustig and Wood

should be excluded from trial because it is imprecise, unspecific, and misleading. [Doc.

61‐1, pp. 2, 7]. White counters that Lustig is qualified, and her opinions are reliable and




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helpful to the jury. [Doc. 66, pp. 6–16]. White also argues that there is no basis under

Daubert to exclude Wood’s testimony. [Id. at 16–18].

                                       DISCUSSION

       A.     Daubert Standard

       Rule 702 of the Federal Rules of Evidence provides:

       A witness who is qualified as an expert by knowledge, skill, experience,
       training, or education may testify in the form of an opinion or otherwise if:
       (a) the expertʹs scientific, technical, or other specialized knowledge will help
       the trier of fact to understand the evidence or to determine a fact in issue;
       (b) the testimony is based on sufficient facts or data; (c) the testimony is the
       product of reliable principles and methods; and (d) the expert has reliably
       applied the principles and methods to the facts of the case.

Rulings on the admissibility of expert testimony—like all evidentiary rulings—

necessarily involve the exercise of the Courtʹs discretion. See Burchfield v. CSX Transp.,

Inc., 636 F.3d 1330, 1333 (11th Cir. 2011). Trial courts are to act as “gatekeepers” to

ensure that speculative and unreliable opinions do not reach the jury. Daubert v. Merrell

Dow Pharms, Inc., 509 U.S. 579, 589, n.7 (1993). “This gatekeeping role, however, is not

intended to supplant the adversary system or the role of the jury: vigorous cross‐

examination, presentation of contrary evidence, and careful instruction on the burden of

proof are the traditional and appropriate means of attacking shaky but admissible

evidence.” United States v. Ala. Power Co., 730 F.3d 1278, 1282 (11th Cir. 2013). Expert

testimony is admissible if “(1) the expert is qualified to testify competently regarding

the matters he intends to address; (2) the methodology by which the expert reaches his


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conclusions is sufficiently reliable . . . ; and (3) the testimony assists the trier of fact . . . to

understand the evidence or to determine a fact in issue.” United States v. Frazier, 387

F.3d 1244, 1260 (11th Cir. 2004) (quoting City of Tuscaloosa v. Harcros Chems. Inc., 158

F.3d 548, 562 (11th Cir. 1998)). The “‘burden of establishing qualification, reliability and

helpfulness’” lies with the party offering the expert opinion. McClain v. Metabolite lntʹl.

Inc., 401 F.3d 1233, 1238 (11th Cir.2005) (quoting Frazier, 387 F.3d at 1260).

       In assessing whether an expert’s methodology is reliable, the Court generally

should consider the following factors: “(1) whether the expertʹs theory can be and has

been tested; (2) whether the theory has been subjected to peer review and publication;

(3) the known or potential error rate of the technique; and (4) whether the technique is

generally accepted in the scientific community.” Adams v. Lab. Corp. of Am., 760 F.3d

1322, 1327 (11th Cir.2014) (per curiam). These factors, of course, represent a non‐

exhaustive list and “‘do not constitute a definitive checklist or test.’” Id. (quoting Kumho

Tire Co. v. Carmichael, 526 U.S. 137, 150 (1999)). “While those factors may help in

assessing the reliability of scientific or experience‐based expert testimony, the district

courtʹs ‘gatekeeping inquiry must be tied to the facts of a particular case.’” Id. (quoting

Kumho Tire, 526 U.S. at 150).

       In its gatekeeping role, the Courtʹs focus must be on the reliability of the

testimony, not simply whether it fits within the narrow confines of lawyer‐urged litmus

tests. While “‘each stage of the expertʹs testimony [must] be reliable, . . . each stage must


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[also] be evaluated practically and flexibly without bright‐line exclusionary (or

inclusionary) rules.’” Frazier, 387 F.3d at 1262 (quoting Heller v. Shaw Indus., Inc., 167

F.3d 146, 155 (3d Cir.1999)). The Courtʹs goal is to ensure that an expert “‘employs in the

courtroom the same level of intellectual rigor that characterizes the practice of an expert

in the relevant field.’” Id. at 1260 (quoting Kumho Tire, 526 U.S. at 152). “Sometimes the

specific [traditional] Daubert factors will aid in determining reliability; sometimes other

questions may be more useful.” Id. at 1262. Testimony that the parties plan to present to

a jury must be “‘properly grounded, well‐reasoned, and not speculative.’” Id. (quoting

Fed. R. Evid. 702 advisory comm. note (2000 amends)).

       Finally, the Court must assess whether the expert testimony helps the trier of

fact. This factor turns on whether the expert testimony “concerns matters that are

beyond the understanding of the average lay person.” Frazier, 387 F.3d at 1262.

“Proffered expert testimony generally will not help the trier of fact when it offers

nothing more than what lawyers for the parties can argue in closing arguments.” Id. at

1262–63. “Nor does expert testimony help the trier of fact if it fails to ‘fit’ with the facts

of the case.” Stoner v. Fye, No. 5:15‐cv‐102 (CAR), 2017 WL 2434461, at *4 (M.D. Ga. June

5, 2017) (quoting McDowell v. Brown, 392 F.3d 1283, 1299 (11th Cir. 2004)). “Expert

testimony lacks ‘fit’ when ‘a large analytical leap must be made between the facts and

the opinion.’” Id. (quoting McDowell, 392 F.3d at 1299); see also Gen. Elec. Co. v. Joiner, 522

U.S. 136, 146 (1997). “A court may conclude that there is simply too great an analytical


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gap between the data and the opinion proffered.” Joiner, 522 U.S. at 146. “Thus, the

court may exclude otherwise reliable testimony if it does not have ‘sufficient bearing on

the issue at hand to warrant a determination that it [is helpful to the trier of fact].’ ”Fye,

2017 WL 2434461, at *4 (quoting Bitler v. A.O. Smith Corp., 400 F.3d 1227, 1234 (10th Cir.

2005)). “At all times when scrutinizing the reliability and relevance of expert testimony,

a court must remain mindful of the delicate balance between its role as a gatekeeper

and the juryʹs role as the ultimate fact‐finder.” Id.

       B.     Motion to Exclude Lustig’s Life Care Plan Testimony

       At bottom, Hall and Oakley argue that Lustig’s testimony should be excluded

because her “life care plan offers no guidance as to the applicability of either Scenario 1

or Scenario 2.” [Doc. 61‐1, p. 4]. Further, the “drastic difference between [Scenario 1 and

2] coupled with Ms. Lustig’s inability to state which scenario applies would confuse a

jury rather than assist it in determining purported future care needs.” [Id. at pp. 4–5].

Finally, Hall and Oakley argue that because White has no need for future medical

treatment, both Scenario 1 and 2 are unreliable and unhelpful. [Id. at p. 7]. Hall and

Oakley do not argue that Lustig is unqualified. Instead, their arguments are aimed at

challenging the reliability and helpfulness of her testimony. See Frazier, 387 F.3d at 1260

(explaining the three requirements for admitting expert testimony: qualification of

expert, reliable methodology, and helpfulness to trier of fact).




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       First, White has met his burden of showing that that the life care plan testimony

is helpful to the trier of fact. Hall and Oakley’s argument to the contrary misses the

mark. They cite to portions of Lustig’s deposition where, according to them, she is

“unable” to state which scenario applies. [Doc. 61‐1, p. 4]; [Lustig Depo., Doc. 61‐4, pp.

80:18—81:14]. But the reason she was unable to do so at the time of the deposition was

because she had not reviewed White’s updated information in over two years. [Lustig

Depo., Doc. 66‐3, p. 75:19–22]. Lustig testified that she can provide an updated opinion

on whether Scenario 1 or 2 most accurately applies if (when) she reviews updated

information about White. [Id. at pp. 81:15—83:12 (“[B]ased on [White’s] testimony and a

follow‐up interview, that’s when I could answer your question” about whether Scenario

2 would weigh more heavily than Scenario 1.)]. After Lustig reviewed White’s latest

deposition and analyzed his updated “human response” to his medical diagnosis, she

provided an updated opinion on whether Situation 1 or 2 would best guide the jury.

[Lustig. Affid., Doc. 66‐4, p. 8].

       Critically, White doesn’t want to simply introduce the life care plan and then let

the jurors figure it out on their own. Instead, White intends to have Lustig testify as to

which scenario applies based on her understanding of White’s current medical status.

[Lustig Depo., Doc. 66‐3, pp. 75:19–22, 81:15—83:12]. In sum, the Court finds that

Lustig’s life care plan, coupled with her opinion about which of the scenario’s plans is

most accurate at the time of trial, could be helpful to the trier of fact.


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       Second, White met his burden of showing that Lustig used reliable methodology

to generate White’s life care plan. Defendants’ only argument against reliability is that

because White has “not treated or taken any medications for over two years,” the very

presentation of a life care plan is itself misleading and presumably inaccurate because,

if the last two years are indicative of his medical condition, he doesn’t need any life care

at all. [Doc. 61‐1, p. 4]. True, courts sometimes find expert testimony about life care

plans unreliable (and thus excludable) when the proffered expert offers an opinion of

future medical costs without explaining the factual basis for those opinions. See, e.g.,

Rinker v. Carnival Corp., No. 09‐23154‐CIV, 2012 WL 37381, at *2 (S.D. Fla. Jan. 6, 2012)

(“However, nothing in the report indicates where or how Dr. Lessne developed these

numbers. At his deposition, Dr. Lessne admitted that he did not speak with Plaintiffʹs

doctors or Plaintiff. He also admitted that all of the projected medical care and

frequency estimates are simply his opinion.”). But that is not the case here. Lustig

generated the life care plan scenarios after she consulted with Dr. Lugo, White’s treating

orthopedic surgeon; reviewed White’s medical records; and collaborated with White’s

health care team. [Lustig Affid., Doc. 66‐4, ¶¶ 12–21]; [Lustig Depo., Doc. 66‐3, p. 74:2–

11 (Lustig confirmed that she didn’t include any treatment listed in the life care plan

that Dr. Lugo did not recommend)].

       The Court concludes that Hall and Oakley’s objections better relate “to the

weight, and not the admissibility” of Lustig’s testimony. M.D.P. v. Middleton, 925 F.


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Supp.2d 1272, 1276 (M.D. Ala. Feb. 7, 2013) (finding that the expert’s life care plan

testimony was admissible). Therefore, Lustig “will be able to testify, and be subject to

cross‐examination, about [her] opinions in this case.” Id.

        C.      Motion to Exclude Dr. Wood’s Expert Testimony

        Hall and Oakley seek to exclude Dr. Wood’s testimony regarding (1) funding for

Lustig’s life care plan; and (2) White’s after‐trial loss in earning capacity. [Doc. 61‐1, p.

7].1 First, they argue that “[t]he viability of Dr. Wood’s opinion testimony concerning

the funding of Ms. Lustig’s life care plan depend[s] solely on the legitimacy of [the] life

care plan.” [Id. at p. 8 (emphasis added)]. As discussed in Section B, supra, the Court

will allow the jury to hear Lustig’s life care plan testimony. Therefore, this objection

fails. The Defendants may certainly point out their contentions in cross examination,

but the jury may hear this portion of Dr. Wood’s testimony. [Doc. 61‐1, p. 8].

        Second, Hall and Oakley argue that “Dr. Wood’s opinion testimony about

Plaintiff’s after‐trial loss in future earning capacity is imprecise, unspecific, and will not

assist a jury.” [Doc. 61‐1, p. 8]. Hall and Oakley equate Dr. Wood’s testimony to the

expert in McGinnis v. American Home Mortg. Servicing, Inc., No. 5:11‐cv‐284‐CAR, 2013

WL 3338922, at *10 (M.D. Ga. July 2, 2013). [Doc. 61‐1, p. 9]. There, the court excluded

the opinion testimony because “Berry [the purported expert] roughly estimates the



1Hall and Oakley “do not seek to exclude Dr. Wood’s opinion testimony concerning before‐trial loss in
earning capacity, relating to certain periods before his December 2017 surgery and during the few months
after this surgery.” [Doc. 61‐1, p. 8].
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accuracy of Homewardʹs analyses by referring generally to a ‘ball park’ figure, thus

rendering an imprecise and unspecific opinion.” McGinnis, No. 5:11‐cv‐284‐CAR, 2013

WL 3338922, at *10. But, Dr. Wood doesn’t use “ball park” figures. Instead, he reviewed

White’s annual income as shown on his tax returns and calculated the present value of

that amount using a standard discount rate and expected future years of employment.

[Wood Report, Doc. 61‐7]; [Wood Depo., Doc. 61‐6, p. 34:3–23]. Dr. Wood’s report

shows that if White loses 100% of his future income, the present value of that amount

would be $956,443. [Doc. 61‐7, p. 3].

       But, Hall and Oakley take issue with the report’s reference to a zero‐to‐100%

range. [Doc. 61‐1, p. 9]. The Court does not. The parties are free to argue about the

applicable percentage of White’s loss to future earnings capacity at trial. See Hernandez

v. Crown Equip. Corp., 92 F.Supp.3d 1325, 1354 (M.D. Ga. Mar. 11, 2015) (“Courts have

recognized that, although the opposing party may use cross examination to challenge

the factual basis for the economist’s assumptions, the process of placing a present value

on future expenses is nonetheless reliable and useful for the jury.”). Accordingly, Wood

“will be able to testify, and be subject to cross‐examination, about [his] opinions in this

case.” Middleton, 925 F. Supp.2d at 1276.

                                        CONCLUSION

       The Court exercises its discretion as “gatekeeper” to allow the jury to hear the

testimony of Lustig and Wood. Daubert, 509 U.S. at 589, n.7 (1993). To rule otherwise


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would “supplant the adversary system [and] the role of the jury.” Ala. Power Co., 730

F.3d at 1282. Therefore, the Court DENIES Hall and Oakley’s Motion to Exclude the

Opinion Testimony of Sarah Lustig and Certain Opinion Testimony of Oliver Wood

[Doc. 61].

       SO ORDERED, this 6th day of November, 2020.

                                        S/ Tilman E. Self, III
                                        TILMAN E. SELF, III, JUDGE
                                        UNITED STATES DISTRICT COURT




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